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                                          No. 17-1581C
                                       Filed April 6, 2018                                  FILED
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                                                   )
 GRANVILLE SCRUGGS, II,                            )                                    U.S. COURT OF
                                                   )
                                                                                       FEDERAL CLAIMS
                        Plaintiff,                 )
                                                   )          Pro Se; RCFC 12(b)(l); Subject-Matter
 v.                                                )          Jurisdiction; Summary Judgment; RCFC
                                                   )          56.
 THE UNITED STATES,                                )
                                                   )
                        Defendant.                 )
~~~~~~~~~~~~~-)

       Granville Scruggs, II, Olive Branch, MS, plaintiff prose.

        Kelly A. Krystyniak, Trial Attorney, Tara K. Hogan, Assistant Director, Robert E.
Kirschman, Jr., Director, Chad A. Readier, Acting Assistant Attorney General, Commercial
Litigation Branch, Civil Division, United States Department of Justice, Washington, DC, for
defendant.

                          MEMORANDUM OPINION AND ORDER
GRIGGSBY, Judge

I.     INTRODUCTION

       Plaintiff pro se, Granville Scruggs, II, brings this action seeking to recover monetary
damages from the United States in connection with certain mutilated currency claims that he
submitted to the United States Department of the Treasury, Bureau of Engraving and Printing
(the "BEP"). See generally Am. Comp!. As relief, plaintiff seeks to recover $960,474.00 from
the government. Comp!. at 4; see also Def. Mot. at 2.

       The government has moved to dismiss the complaint for lack of subject-matter
jurisdiction upon the grounds that the Court does not possess subject-matter jurisdiction to
consider plaintiffs takings, breach of contract, criminal law, tort, and civil rights claims,
pursuant to Rule 12(b)(l) of the Rules of the United States Court of Federal Claims ("RCFC").
See generally Def. Mot. Alternatively, the government moves for summary judgment in its


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favor, pursuant to RCFC 56, upon the ground that the BEP properly denied plaintiff's mutilated
currency claims. Id

        Plaintiff has also moved to proceed in this matter in forma pauperis. See generally Pl.
IFP Mot. For the reasons set forth below, the Court: (1) GRANTS the government's motion to
dismiss, or, in the alternative, for summary judgment; (2) GRANTS plaintiff's motion to
proceed informa pauperis; and (3) DISMISSES plaintiff's complaint.

II.    FACTUAL AND PROCEDURAL BACKGROUND'

        A.    Factual And Procedural Background

        Plaintiff prose, Granville Scruggs, II, filed this action on October 18, 2017. See
generally Comp!. Plaintiff's complaint and amended complaint are difficult to follow. But, it
appears that plaintiff primarily alleges that United States Department of the Treasury, Bureau of
Engraving and Printing improperly denied certain mutilated currency claims that he submitted to
the BEP in 2014. Id at 4; Am. Comp!. at l; see also Def. Mot. at 2. In the amended complaint,
plaintiff alleges that he submitted lawfully held legal tender to the BEP, consistent with the
BEP' s mutilated currency regulations. Am. Comp!. at 2, 4. And so, plaintiff contends that the
BEP violated the agency's mutilated currency regulations by denying his mutilated currency
claims. Id.

        Plaintiff also appears to allege that he has entered into a valid contract with the
government to recover certain monetary damages that he seeks in this case. Id at 1. In addition,
plaintiff appears to allege that the government engaged in a wrongful criminal prosecution
involving plaintiff. Id. at 2-3 (alleging that the government "attempted a grand jury indictment
in bad faith against [him]"). As relief, plaintiff seeks to recover $960,474.00 in monetary
damages from the government. Comp!. at 4; see also Def. Mot. at 2.




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  The facts recited in this Memorandum Opinion and Order are taken from plaintiffs complaint
("Comp!."); plaintiffs amended complaint ("Am. Comp!."); and the government's motion to dismiss
("Def. Mot"). Unless otherwise stated, the facts recited herein are undisputed. Because of plaintiffs pro
se status, the Court considers both the complaint and the amended complaint to determine the nature of
plaintiffs claims.

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                 1. BEP's Mutilated Currency Regulations

       As background, the BEP redeems mutilated United States currency as a free service to
the public.   See BUREA u OF ENGRAVING AND PRINTING SERVICES, Redeem Mutilated Currency,

https://bep.gov/services/currencyredemption.html (last visited Mar. 23, 2018). The lawful
holders of mutilated currency may redeem their currency at full value when the currency has
been damaged to the extent that its condition is such that the currency's value is questionable.
Id. Under such circumstances, mutilated currency must be sent to the BEP for examination
before any redemption of the currency is made. Id.

        Specifically relevant to this dispute, the BEP has promulgated regulations that govern the
process for redeeming mutilated currency.     See generally   31C.F.R.§100.2-.19. These
regulations define "mutilated currency" as follows:

       Mutilated currency is currency which has been damaged to the extent
       that:

                 (i) One-half or less of the original note remains; or

                 (ii) Its condition is such that its value is questionable and the
                      currency must be forwarded to the Department of the
                      Treasury for the examination by trained experts before any
                      redemption is made.

31 C.F.R. § 100.S(b)(i)-(ii). Under the BEP's mutilated currency regulations, "[!]awfully held
mutilated paper currency of the United States may be submitted for examination in accord with
the provisions [of these regulations]." Id. § 100.S(a). And so, mutilated currency may be
redeemed at face amount if sufficient remnants of any relevant security feature and clearly more
than one-half of the original note remains. Id.

       The BEP's mutilated currency regulations also describe the procedure for redeeming
mutilated currency. The regulations provide that:

    (a) Lawful holders of mutilated currency may receive a redemption at full value when:

              (1) Clearly more than 50% of a note identifiable as United States
                 currency is present along with sufficient remnants of any relevant
                 security feature; or




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           (2) Fifty percent or less of a note identifiable as United States currency
               is present and the method of mutilation and supporting evidence
               demonstrate to the satisfaction of the Treasury that the missing
               portions have been totally destroyed.

Id. § I00.7(a). But, the regulations provide that:

   (b) No redemption will be made when:

           (I) A submission, or any portion thereof, demonstrates a pattern of
               intentional mutilation or an attempt to defraud the United States. In
               such instances, the entire submission will be destroyed or retained
               as evidence.

           (2) A submission appears to be part of, or intended to further, any
               criminal scheme. In such instances, the entire submission will be
               destroyed or retained as evidence.

           (3) A submission contains a material misrepresentation of facts.

           (4) Fragments and remnants presented are not identifiable as United
               States currency; or

           (5) Fragments and remnants presented which represent 50% or less of a
               note are identifiable as United States currency but the method of
               destruction and supporting evidence do not satisfy the Treasury that
               the missing portion has been totally destroyed.

Id. at§ 100.7(b).

        Lastly these regulations provide that:

        All cases will be handled under proper procedures to safeguard the funds and
        interests of the submitter of lawfully held mutilated currency. In some cases, the
        amount redeemed will be less than the amount estimated by the submitter. In other
        cases, the amount redeemed may be greater. The amount redeemed will be
        determined by an examination made by trained mutilated currency examiners and
        governed by the above criteria.

Id. at § I 00. 7( d). And so, the Director of the BEP has the final authority with respect to the
redemptions of mutilated currency submissions. Id. at § I 00. 7( e).




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                 2. Plaintiff's Mutilated Currency Claims

          In 2014, plaintiff submitted several mutilated currency claims to the BEP. Def. Mot at
A23-24, A29. After the BEP became suspicious of plaintiffs claims, the BEP's Mutilated
Currency Division sent a complaint to the Department of the Treasury's Office of the Inspector
General (the "OIG") alleging that plaintiff had purchased bags of shredded currency from a BEP
store and then submitted these bags of shredded currency to the BEP with redemption claims. Id.
at A23.

          On September 9, 2015, the OIG issued a final report finding that the Mutilated Currency
Division's complaint had been substantiated and that plaintiffs mutilated currency claims were
improper. Id. at A23. Specifically, the OIG found that, on December 18, 2013, "a subject using
the name Douglas Hornsby and address 12860 Pine Crest Drive, Olive Branch, MS 38654,
placed an order for two, five pound bags of shredded U.S. currency from The BEP Store online."
Id. The OIG also found that "[a] second, identical order was placed on December 27, 2013." Id.

          In addition, the OIG found that, "on February 6, 2014, the BEP received a [mutilated
currency claim] for four bags of shredded currency from [plaintiff, using the 12860 Pine Crest
Drive address]." Id. The OIG also found that, on September 10, 2014, the BEP received an
email that appeared to be from plaintiff stating that a friend of plaintiff had purchased the four
bags of shredded currency for plaintiff, and claiming a mitigated currency value of
approximately $52,800.00. Id.

          After the BEP denied plaintiff's first mutilated currency claim on May 7, 2014, the OIG
found that plaintiff "submitted additional shredded currency claims" to BEP in the respective
amounts of$250,000.00-in September 2014-and $704,666.00-in December, 2014. Id. at
A23-A24. The BEP denied both of these claims. Id. Thereafter, the OIG issued a cease and
desist warning to plaintiff and advised plaintiff that his conduct in submitting these mutilated
currency claims violated of both criminal and civil law. 2 Id. at A24.



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 On July 20, 2016, plaintiff testified about fraud claims before a federal grand jury sitting in Oxford,
Mississippi. Comp!. at I, App. at 6; Am. Comp!. at 2. Plaintiff was not criminally indicted in connection
with those proceedings. Am. Comp!. at 2; see also Def. Mot. at 4.



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                3. Plaintiff's Prior Mutilated Currency Litigation

        Prior to commencing this action, plaintiff filed several other cases involving his mutilated
currency claims.

        On November 10, 2015, plaintiff commenced an action in the Superior Court of the
District of Columbia, which was later removed to the United States District Court for the District
of Columbia, alleging that he submitted mutilated currency to the BEP which had not been
properly redeemed. Am. Comp!. Ex. 1, at 3 (docket entry no. 8-1 ); see also Def. Mot. at 3. On
August 1, 2016, the district court dismissed this case upon jurisdictional grounds. Am. Comp!.
Ex. 1, at 6-9 (docket entry no. 8-1 ).

        On February 17, 2016, plaintiff commenced an action in this Court seeking to recover
$960,474.00 from the government as redemption for 54 pounds of mutilated currency. See
generally Scruggs v. United States, Case No. 16-0235C, 2016 WL 3419221 (Fed. Cl. June 16,
2016). On June 16, 2016, the Court dismissed that case upon jurisdictional grounds, pursuant to
RCFC 12(b)(l). Id. at *4-5.

        In addition, on October 26, 2016, plaintiff filed a civil rights action before the United
States District Court for the Northern District of Mississippi alleging that his constitutional rights
had been violated by the dismissal of his litigation before the United States Court of Federal
Claims. Pl. Comp!. at 5, Scruggs v. Reyes, Case No. 3:16-cv-00245-SA-RP, (N.D. Miss. July 3,
2017) (docket entry no. 1); see also Def. Mot. at 4. Plaintiff voluntarily dismissed the complaint
in that matter on July 3, 2017. See generally Pl. Notice of Dismissal, Scruggs v. Reyes, Case No.
3:16-cv-00245-SA-RP (docket entry no. 20); see also Def. Mot. at 4.

        Lastly, on October 13, 2017, plaintiff filed another case in this Court asserting a takings
claim based upon the denial of his mutilated currency claims. See Pl. Comp!., Scruggs v. United
States, Case No. l 7-00740C-EGB (Fed. Cl. October 13, 2017) (docket entry no. 1); see also Def.
Mot. at 4. On October 10, 2017, plaintiff voluntarily dismissed that case. Pl. Notice of
Dismissal, Scruggs v. United States, Case No. 17-0740-EGB (docket entry no. 21).




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        B.    Procedural History

        October 18, 2017, plaintiff filed the complaint and a motion to proceed in this matter in
forma pauperis. See generally Comp!.; PL IFP Mot. On November 6, 2017, plaintiff filed an
amended complaint. See generally Am. Comp!.

        On December 18, 2017, the government filed a motion to dismiss the amended
complaint, or alternatively, for summary judgment, pursuant to RCFC 12(b)(l) and 56. See
generally Def. Mot. On January 10, 2018, plaintiff filed a response and opposition to the
government's motion to dismiss, or, alternatively, for summary judgment. See generally Pl.
Resp. On January 18, 2018, the government filed a reply in support of its motion to dismiss, or
alternatively, for summary judgment. See generally Def. Reply.

        The government's motion to dismiss, or alternatively, for summary judgment having
been fully briefed, the Court resolves this pending motion.

Ill.    LEGAL ST AND ARDS

        A.    Pro Se Litigants

        Plaintiff is proceeding in this matter prose. The Court recognizes that parties proceeding
pro se are granted greater leeway than litigants represented by counsel. See Haines v. Kerner,
404 U.S. 519, 520-21 (1972) (holding that prose complaints are held to "less stringent standards
than formal pleadings drafted by lawyers"). Nonetheless, "[ w]hile a court should be receptive to
prose plaintiffs and assist them, justice is ill-served when a jurist crosses the line from finder of
fact to advocate." Demes v. United States, 52 Fed. CL 365, 369 (2002). And so, the Court may
excuse ambiguities in plaintiffs complaint, but the Court does not excuse the complaint's
failures. See Henke v. United States, 60 F.3d 795, 799 (Fed. Cir. 1995).

        In addition, this Court has long recognized that "the leniency afforded to a prose litigant
with respect to mere formalities does not relieve the burden to meet jurisdictional requirements."
Minehan v. United States, 75 Fed. CL 249, 253 (2007). For this reason, a prose plaintiff-like
any other plaintiff-must establish the Court's jurisdiction to consider his claim by a
preponderance of the evidence. Riles v. United States, 93 Fed. CL 163, 165 (2010).




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       B.     Jurisdiction And RCFC 12(b)(l)

       When deciding a motion to dismiss for lack of subject-matter jurisdiction, this Court must
assume that all undisputed facts alleged in the complaint are true and must draw all reasonable
inferences in the non-movant's favor. See Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197,
167 L. Ed. 2d 1081 (2007); United Pac. Ins. Co. v. United States, 464 F.3d 1325, 1327-28 (Fed.
Cir. 2006); see also RCFC 12(b)(l). Plaintiff bears the burden of establishing subject-matter
jurisdiction, and must do so by a preponderance of the evidence. Reynolds v. Army & Air Force
Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). And so, should the Court determine that "it
lacks jurisdiction over the subject matter, it must dismiss the claim." Matthews v. United States,
72 Fed. Cl. 274, 278 (2006); see also RCFC 12(h)(3).

       In this regard, the United States Court of Federal Claims is a court of limited jurisdiction
and "possess[ es] only that power authorized by Constitution and statute .... " Kokkonen v.
Guardian Life Ins. Co. ofAm., 511 U.S. 375, 377 (1994). Specifically, the Tucker Act grants the
Court jurisdiction over:
       [A ]ny claim against the United States founded either upon the Constitution, or any
       Act of Congress or any regulation of an executive department, or upon any express
       or implied contract with the United States, or for liquidated or unliquidated
       damages in cases not sounding in tort.

       28 U.S.C. § 149l(a)(l). The Tucker Act is, however, "a jurisdictional statute; it does not
create any substantive right enforceable against the United States for money damages .... [T]he
Act merely confers jurisdiction upon [the United States Court of Federal Claims] whenever the
substantive right exists." United States v. Testan, 424 U.S. 392, 398 (1976). And so, to come
within the jurisdictional reach and waiver of the Tucker Act, a plaintiff must identify and plead a
money-mandating constitutional provision, statute or regulation; an express or implied contract
with the United States; or an illegal exaction of money by the United States that creates the right
to money damages. Cabral v. United States, 317 F. App'x 979, 981 (Fed. Cir. 2008) (citing
Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005)); see also Martinez v. United
States, 333 F.3d 1295, 1302 (Fed. Cir. 2003).

       "[A] statute or regulation is money-mandating for jurisdictional purposes if it 'can fairly
be interpreted as mandating compensation for damages sustained as a result of the breach of the
duties [it] impose[ s]. "' Fisher, 402 F.3d at 1173 (brackets in original) (quoting United States v.

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Mitchell, 463 U.S. 206, 217 (1983)). If the Court finds that the source of law alleged is not
money-mandating, the Court must dismiss the case for lack of subject-matter jurisdiction. Id.;
RCFC 12(b)(l).

       C.     RCFC 56

       Pursuant to RCFC 56, a party is entitled to summary judgment when there is "no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law." RCFC
56(a); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Biery v. United States,
753 F.3d 1279, 1286 (Fed. Cir. 2014). A dispute is "genuine" when "the evidence is such that a
reasonable jury could return a verdict for the nonmoving party." Anderson, 477 U.S. at 248. A
fact is "material" ifit could "affect the outcome of the suit under the governing law." Id.

       The moving party bears the burden of demonstrating the absence of any genuine issues of
material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). And so, '"the inferences to be
drawn from the underlying facts ... must be viewed in the light most favorable to the party
opposing the motion."' Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,
587-88 (1986) (quoting United States v. Diebold, Inc, 369 U.S. 654, 655 (1962)).

       In making a summary judgment determination, the Court does not weigh the evidence
presented, but instead must "determine whether there is a genuine issue for. trial." Anderson, 477
U.S. at 249; see also Am. Ins. Co. v. United States, 62 Fed. Cl. 151, 154 (2004); Agosto v. INS,
436 U.S. 748, 756 (1978) ("[A trial] court generally cannot grant summary judgment based on its
assessment of the credibility of the evidence presented .... "). The Court may grant summary
judgment when "the record taken as a whole could not lead a rational trier of fact to find for the
nonmoving party .... " Matsushita Elec. Indus. Co., Ltd., 475 U.S. at 587.

       The above standard applies when the Court considers cross-motions for summary
judgment. Principal Life Ins. Co. & Subsidiaries v. United States, 116 Fed. Cl. 82, 89 (2014);
see also Estate of Hevia v. Portrio Corp., 602 F.3d 34, 40 (!st Cir. 2010). And so, when both
parties move for summary judgment, "'the court must evaluate each party's motion on its own
merits, taking care in each instance to draw all reasonable inferences against the party whose
motion is under consideration."' Abbey v. United States, 99 Fed. Cl. 430, 436 (2011) (quoting
Mingus Constructors, Inc. v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987)).


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       D.      Contract Claims Against The United States

       Under the Tucker Act, the Court possesses subject-matter jurisdiction to consider express
or implied-in-fact contract claims against the United States. See Aboo v. United States, 86 Fed.
Cl. 618, 626-27 (2009). But, plaintiff bears the burden of proving the existence of a contract
with the United States and he must demonstrate that there is "something more than a cloud of
evidence that could be consistent with a contract to prove a contract and enforceable contract
rights." D & N Bankv. United States, 331F.3d1374, 1376 (Fed. Cir. 2003).

       To pursue a breach of contract claim against the United States under the Tucker Act,
plaintiff must have privity of contract with the United States. Flex/ab, L.L. C. v. United States,
424 F.3d 1254, 1263 (Fed. Cir. 2005) (citations omitted) ("[T]he 'government consents to be
sued only by those with whom it has privity of contract.'"). Plaintiff must also support his
contract claim with well-pleaded allegations going to each element of a contract. See Crewzers
Fire Crew Transp. Inc. v. United States, 741 F.3d 1380, 1382 (Fed. Cir. 2014) (holding that to
invoke the jurisdiction of this Court under the Tucker Act, a plaintiff must present a well-pleaded
allegation that its claims arose out of a valid contract with the United States); see also RCFC
9(k) ("In pleading a claim founded on a contract or treaty, a party must identify the substantive
provisions of the contract or treaty on which the party relies."); Gonzalez-Mccaulley Inv. Grp.,
Inc. v. United States, 93 Fed. Cl. 710, 715 (2010).

       The requirements for establishing a contract with the United States are identical for
express and implied-in-fact contracts. See Night Vision Corp. v. United States, 469 F.3d 1369,
1375 (Fed. Cir. 2006); Huntington Promotional & Supply, LLC v. United States, 114 Fed. Cl.
760, 767 (2014) ("The elements are the same for an express or implied-in-fact contract. ... ").
Specifically, a plaintiff must show: (1) mutuality of intent; (2) consideration; (3) lack of
ambiguity in the offer and acceptance; and (4) actual authority to bind the government in
contract on the part of the government official whose conduct is relied upon. Kam-Almaz v.
United States, 682 F.3d 1364, 1368 (Fed. Cir. 2012); see also Trauma Serv. Grp. v. United
States, 104 F.3d 1321, 1325 (Fed. Cir. 1997). A government official's authority to bind the
United States must be express or implied. Roy v. United States, 38 Fed. Cl. 184, 188-89,
dismissed, 124 F.3d 224 (Fed. Cir. 1997). And so, "the [g]ovemment, unlike private parties,
cannot be bound by the apparent authority of its agents." Id. at 187.


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        In this regard, a government official possesses express actual authority to bind the United
States in contract "only when the Constitution, a statute, or a regulation grants it to that agent in
unambiguous terms." Jumah v. United States, 90 Fed. Cl. 603, 612 (2009), ajf'd, 385 F. App'x
987 (Fed. Cir. 2010) (internal citations omitted); see also City ofEl Centro v. United States, 922
F.2d 816, 820 (Fed. Cir. 1990) (citation omitted). On the other hand, a government official
possesses implied actual authority to bind the United States in contract "when the employee
cannot perform his assigned tasks without such authority and when the relevant agency's
regulations do not grant the authority to other agency employees." SGS-92-X003 v. United
States, 74 Fed. Cl. 637, 652 (2007) (citations omitted); see also Aboo, 86 Fed. Cl. at 627 (stating
that implied actual authority "is restricted to situations where 'such authority is considered to be
an integral part of the duties assigned to a [g]overnment employee."') (quoting H Landau & Co.
v. United States, 886 F.2d 322, 324 (Fed. Cir. 1989)). In addition, when a government agent
does not possess express or implied actual authority to bind the United States in contract, the
government can still be bound by contract if the contract was ratified by an official with the
necessary authority. Janowsky v. United States, 133 F.3d 888, 891-92 (Fed. Cir. 1998). 3

        E.     Fifth Amendment Takings Claims

        The United States Court of Federal Claims has exclusive jurisdiction over Fifth
Amendment takings claims in excess of$10,000. 28 U.S.C. § 1491(a); see also Acceptance Ins.
Cos. Inc. v. United States, 503 F.3d 1328, 1336 (Fed. Cir. 2007). The Takings Clause of the
Fifth Amendment guarantees just compensation whenever private property is "taken" for public
use. U.S. CONST. amend. V. The purpose of the Fifth Amendment is to prevent the
"[g]overnment from forcing some people alone to bear public burdens which, in all fairness and
justice, should be borne by the public as a whole." Penn Central Transp. Co. v. City ofNew



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  Ratification may take place at the individual or institutional level. SGS-92-XOOJ v. United States, 74
Fed. Cl. 637, 653-54 (2007). Individual ratification occurs when a supervisor: (I) possesses the actual
authority to contract; (2) fully knew the material facts surrounding the unauthorized action of his or her
subordinate; and (3) knowingly confirmed, adopted, or acquiesced to the unauthorized action of the
subordinate. Id. at 654 (quoting Leonardo v. United States, 63 Fed. Cl. 552, 560 (2005)). In contrast,
institutional ratification occurs when the government "seeks and receives the benefits from an otherwise
unauthorized contract." Id. at 654; see alsoJanowsky v. United States, 133 F.3d 888, 891-92 (Fed. Cir.
1998).


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York, 438 U.S. 104, 123 (1978) (quoting Armstrong v. United States, 364 U.S. 40, 49 (1960));
see also Florida Rock Indus., Inc. v. United States, 18 F.3d 1560, 1571 (Fed. Cir. 1994).

        To have a cause of action for a Fifth Amendment takings, a plaintiff must point to a
protectable property interest that is asserted to be the subject of the takings. See Phillips v.
Wash. Legal Found, 524 U.S. 156, 164 (1998) (citation omitted) ("Because the Constitution
protects rather than creates property interests, the existence of a property interest is determined
by reference to 'existing rules or understandings that stem from an independent source such as
state law."'). Under the Takings Clause, "property" is defined as a "legally-recognized property
interest such as one in real estate, personal property, or intellectual property." Adams v. United
States, 391 F.3d 1212, 1224 (Fed. Cir. 2004) (clarifying that an ordinary obligation to pay money
does not constitute "property" under the Takings Clause). Contract rights can be the subject ofa
takings action. See, e.g., Lynch v. United States, 292 U.S. 571, 579 (1934) ("Valid contracts are
property, whether the obligor be a private individual, a municipality, a state or the United
States.").

        In addition, courts have traditionally divided the analysis of Fifth Amendment takings
into two categories-regulatory takings and physical takings. In this regard, the United States
Court of Appeals for the Federal Circuit has recognized that "[g]overnment action that does not
directly appropriate or invade, physically destroy, or oust an owner from property but is overly
burdensome may be a regulatory taking." A & D Auto Sales, Inc. v. United States, 748 F.3d
1142, 1151 (Fed. Cir. 2014). In assessing whether a regulatory takings has occurred, courts
generally employ the balancing test set forth in Penn Central, weighing the character of the
government action, the economic impact of that action, and the reasonableness of the property
owner's investment-backed expectations. Penn Central Transp. Co., 438 U.S. at 124-25. "The
general rule at least is that while property may be regulated to a certain extent, ifregulation goes
too far it will be recognized as a taking." Penn. Coal Co. v. Mahon, 260 U.S. 393, 415 (1922);
see also Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005) (holding a regulation is a
takings if it is "so onerous that its effect is tantamount to a direct appropriation or ouster").

        In contrast, physical or per se takings occur when the government's action amounts to a
physical occupation or invasion of the property, including the functional equivalent of "a
practical ouster of [the property owner's] possession." Transportation Co. v. Chicago, 99 U.S.


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635, 642 (1879); see also Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 428
(1982). When an owner has suffered a physical invasion of his property, the United States
Supreme Court has noted that "no matter how minute the intrusion, and no matter how weighty
the public purpose behind it, we have required compensation." Lucas v. S. C. Coastal Council,
505 U.S. 1003, 1015, 112 S. Ct. 2886, 120 L. Ed. 2d 798 (1992). The distinction between a
physical invasion and a governmental activity that merely impairs the use of that property turns
on whether the intrusion is "so immediate and direct as to subtract from the owner's full
enjoyment of the property and to limit his exploitation ofit." United States v. Causby, 328 U.S.
256, 265, 66 S. Ct. 1062, 90 L. Ed. 1206 (1946).

IV.     LEGAL ANALYSIS

        The government has moved to dismiss this matter for lack of subject-matter jurisdiction
pursuant to RCFC 12(b)(l), upon the grounds that the Court may not consider plaintiffs
constitutional, contract, tort, criminal law, and civil rights claims under the Tucker Act. See Def.
Mot. at 6-8. Alternatively, the government moves for summary judgment in its favor pursuant to
RCFC 56, upon the ground that the undisputed material facts in this case show that the BEP
properly denied plaintiffs mutilated currency claims. Id. at 9-10.

        In his response and opposition to the government's dispositive motion, plaintiff argues
that the Court possesses subject-matter jurisdiction to consider his contract, civil rights, tort,
criminal law, and takings claims, because these claims are based upon money-mandating sources
of law. Pl. Resp. at 1-4. Plaintiff also argues that the government is not entitled to summary
judgment in its favor with respect to his claim that the BEP improperly denied his mutilated
currency claims, because plaintiff submitted legal tender to the BEP and there are material facts
in dispute regarding his mutilated currency claims. Id. at 4-7.

        For the reasons discussed below, a careful reading of the complaint and amended
complaint makes clear that the Court does not possess subject-matter jurisdiction to consider any
of plaintiffs' constitutional, contract, tort, criminal law, and civil rights claims. In addition,
while the Court may consider plaintiffs claim that the BEP violated the agency's mutilated
currency regulations by denying his mutilated currency claims, the undisputed material facts in
this matter show that the BEP appropriately denied these claims. And so, the Court GRANTS


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the government's motion to dismiss, or, in the alternative, for summary judgment and
DISMISSES the complaint. RCFC 12(b)(l) and 56.

       A.      The Court Does Not Possess Jurisdiction To Consider Plaintifrs Claims

       As an initial matter, the Court must dismiss plaintiff's constitutional, contract, tort,
criminal law, and civil rights claims for lack of subject-matter jurisdiction. RCFC l 2(b )(I). It is
well-established that, to come within the jurisdictional reach of the Tucker Act, plaintiff must
identify and plead a money-mandating constitutional provision, statute or regulation; an express
or implied contract with the United States; or an illegal exaction of money by the United States
that creates the right to money damages. Cabral v. United States, 317 F. App'x 979, 981 (Fed.
Cir. 2008) (citing Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005)); see also
Martinez v. United States, 333 F.3d 1295, 1302 (Fed. Cir. 2003). "[A] statute or regulation is
money-mandating for jurisdictional purposes if it 'can fairly be interpreted as mandating
compensation for damages sustained as a result of the breach of the duties [it] impose[ s]."'
Fisher, 402 F.3d at 1173 (quoting United States v. Mitchell, 463 U.S. 206, 217 (1983)) (brackets
in original). And so, ifthe Court finds that the sources oflaw relied upon by plaintiff to support
his claims in this matter are not money-mandating, the Court must dismiss these claims for lack
of subject-matter jurisdiction. Id.; RCFC 12(b)(l).

                1.   The Court May Not Consider Plaintifrs Constitutional Claims

       Even the most generous reading of the amended complaint shows that plaintiff fails to
allege constitutional claims that may be pursued in this Court. In the amended complaint,
plaintiff alleges that his case is "founded upon [the] 5th and 14th Amendment[s] of the U.S.
Constitution." Am. Comp!. at I. But, the Federal Circuit has long recognized that this Court's
jurisdiction under the Tucker Act does not extend to the review actions under either the Due
Process Clause or Equal Protection Clause of the Fifth and Fourteenth Amendments. See, e.g.,
Crocker v. United States, 125 F.3d 1475, 1476 (Fed. Cir.1997) (holding that this Court has no
jurisdiction over a due process violation under the Fifth and Fourteenth Amendments); LeBlanc
v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995) (holding that this Court has no jurisdiction

arising from the due process and equal protection clauses). And so, plaintiff cannot rely upon
these constitutional provisions to establish jurisdiction in this case.



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       To the extent that plaintiff alleges a Fifth Amendment takings claim, he also fails to
allege a plausible claim. In the amended complaint, plaintiff cites the Takings Clause and asserts
that he is entitled to "full reimbursement" of his mutilated currency claims. Am. Comp!. at 2.
And so, it appears that plaintiff alleges that he has a cognizable property interest in the BEP's
obligation to redeem mutilated currency under the BEP's mutilated currency regulations. Id.

       But, the Federal Circuit has held within the context of overtime civilian pay claims that
the government's obligation to pay money pursuant to a federal statute is not a protected
property interest that is cognizable under the Takings Clause. Adams v. United States, 391 F.3d
1212, 1219-20 (Fed. Cir. 2004) (holding no cognizable property right under the Takings Clause
in underpaid overtime compensation under the Fair Labor Standards Act); see also Lawrence v.
United States, 69 Fed. Cl. 550, 554 (2006) (citing Fisher v. United States, 402 F.3d 1167, 1172
(Fed. Cir. 2005) (stating that the Tucker Act requires a plaintiff to identify a substantive right
enforceable against the United States for money damages)). 4 Similarly here, plaintiff's takings
claim is based upon the BEP's obligation to redeem mutilated currency under the agency's
mutilated currency regulations. Cf Adams, 391 F.3d at 1219-20. The Court does not find this to
be a cognizable property interest. And so, plaintiff fails to state a plausible takings claim in this
action and the Court must dismiss this claim. RCFC 12(b)(6).

               2. The Court May Not Consider Plaintiff's
                  Criminal Law, Tort, And Civil Rights Claims

       Plaintiffs criminal law, tort, and civil rights claims are also jurisdictionally precluded. In
the amended complaint, plaintiff alleges that the government "in bad faith, attempted a grand
jury indictment against [him]." Am. Comp!. at 2. But, it is well-established that this Court does
not possess subject-matter jurisdiction to consider such criminal law matters. Joshua v. United
States, 17 F.3d 378, 379 (1994) (finding that the Court does not have subject-matter jurisdiction
over a plaintiff's criminal allegations against court officers acting in a "scheme [or] design").


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  The Federal Circuit observed in Adams that the appellants in that case confused a property right
cognizable under the Takings Clause with a due process right to payment of a monetary entitlement under
a compensation statute. Adams v. United States, 391 F.3d 1212, 1220 (Fed. Cir. 2004). The Federal
Circuit also noted that, generally, entitlements are considered to be government conferred benefits,
safeguarded exclusively by procedural due process. Id. at n.4 (citing Ed. of Regents of State Calls. v.
Roth, 408 U.S. 564, 577 (1972).


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          The Court also may not consider plaintiffs claims that the government defamed and
slandered him and that he is the "victim of false allegations by the United States." Am. Comp!.
at 4. Plaintiffs claims plainly sound in tort and this Court does not possess subject-matter
jurisdiction to consider tort claims. See Keene Corporation v. United States, 508 U.S. 200, 214
(1994).

          Plaintiffs civil rights claim is equally problematic. In the amended complaint, plaintiff
alleges he may bring this action pursuant to Section 1983 of the Civil Rights Act. Am. Comp!. at
I. But, it is well-established that this Court may not entertain Section 1983 claims. See, e.g.,
Jefferson v. United States, 104 Fed. Cl. 81, 89 (2012). And so, the Court must also dismiss
plaintiffs criminal law, tort, and civil rights claims. RCFC l 2(b )(! ).

                 3. The Court May Not Consider Plaintiff's Contract Claim

          Lastly, to the extent that the amended complaint can be read to allege a breach of contract
claim against the United States, this claim must also be dismissed. To pursue a breach of
contract claim against the United States, plaintiff must support his contract claim with well-
pleaded allegations going to each element of a contract. See Crewzers Fire Crew Transp., Inc. v.
United States, 741 F.3d 1380, 1382 (Fed. Cir. 2014)(holding that to invoke the jurisdiction of
this Court under the Tucker Act, a plaintiff must present a well-pleaded allegation that its claims
arose out of a valid contract with the United States); see also RCFC 9(k) ("In pleading a claim
founded on a contract or treaty, a party must identify the substantive provisions of the contract or
treaty on which the party relies."); Gonzalez-McCaulley Inv. Grp., Inc. v. United States, 93 Fed.
Cl. 710, 715 (2010). But a review of the amended complaint makes clear that plaintiff has not
alleged any facts to show: (I) mutuality of intent; (2) consideration; (3) lack of ambiguity in the
offer and acceptance; or (4) actual authority to bind the government in contract on the part of the
government official whose conduct is relied upon, with respect to his contract claim. Kam-
Almaz v. United States, 682 F.3d 1364, 1368 (Fed. Cir. 2012); see generally Am. Comp!. And
so, the Court must dismiss plaintiffs breach of contract claim for lack of subject matter
jurisdiction. RCFC l 2(b)(! ).




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       B.     The BEP Properly Denied Plaintiff's Mutilated Currency Claims

       Plaintiffs claim that the BEP violated the agency's mutilated currency regulations by
denying his mutilated currency claims is on much stronger jurisdictional footing. Am. Comp!. at
1. In the amended complaint, plaintiff relies upon the BEP' s mutilated currency regulations set
forth in 31 C.F.R. Part 100 to bring this claim. Am. Comp!. at 1-2; see generally 31 C.F.R. §
100.2-.19. In this regard, the BEP's mutilated currency regulations set forth in 31 C.F.R. §
100.5(a) provide that:

       Lawfully held mutilated paper currency of the United States may be submitted for
       examination in accord with the provisions in this subpart. Such currency may be
       redeemed at face amount if sufficient remnants of any relevant security feature and
       clearly more than one-half of the original note remains. Fragments of such
       mutilated currency which are not clearly more than one-half of the original whole
       note or are lacking sufficient remnants of any relevant security feature will be
       redeemed at face value only if the Director, Bureau of Engraving and Printing,
       Department of the Treasury, is satisfied that the missing portions have been totally
       destroyed. The Director's judgment shall be based on such evidence of total
       destruction as is necessary and shall be final. Any submission under this subpart
       shall be deemed an acceptance of all provisions contained herein.

31C.F.R.§100.5(a) (emphasis supplied). The United States Court of Claims has held that an
allegation that the government failed to redeem properly mutilated currency states a claim that
falls within the jurisdiction of this Court. See Krigel v. United States, 662 F.2d 741, 745 (Ct. Cl.
1981) (the obligation of the government to redeem mutilated currency is imposed by statute
under 31U.S.C.§773a (1976) and defined by regulation under 31C.F.R.§100.5(a)). And so,
the Court may consider plaintiffs claim.

       While the Court may consider plaintiffs mutilated currency claim, the undisputed
material facts in this matter, nonetheless, make clear that this claim lacks merit. As the
government demonstrates in its dispositive motion, the undisputed material facts in this matter
show that plaintiff repeatedly submitted shredded currency-rather than lawfully held legal
tender-to the BEP for redemption in connection with his mutilated currency claims. Def. Mot. at
3, 10; A23-24, A29.

       Specifically, the sworn declaration of the program manager for the BEP' s Mutilated
Currency Division, Tryst R. Hensell, Jr., states that the package containing plaintiffs first
mutilated currency claim "contained shredded currency still in the original [BEP packaging]."

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Def. Mot. at A2. A subsequent investigation of plaintiffs mutilated currency claims by the
Department of the Treasury's Office of the Inspector General also found that this claim-and
two other mutilated currency claims submitted by plaintiff-were improper. Id. at A23. In this
regard, the OIG found that plaintiff"submitted additional shredded currency claims" to BEP in
the amount of$250,000.00, in September 2014, and in the amount of$704,666.00, in December,
2014. Id. at A24.

        The BEP's mutilated currency regulations make clear that "mutilated currency" must be
"currency which has been damaged to the extent that either: (i) One-half or less of the original
note remains; or (ii) Its condition is such that its value is questionable and the currency must be
forwarded to the Department of the Treasury for the examination by trained experts before any
redemption is made." 31 C.F.R. § 100.S(b)(i)-(ii). And so, these regulations clearly require that
plaintiff submit lawfully held mutilated currency, rather than shredded currency, to the BEP for
redemption. Id. § 100.S(a) (stating that only "[!]awfully held mutilated paper currency" may be
submitted for examination).

        Because the undisputed material facts in this case show that plaintiff did not do so here,
the BEP appropriately denied plaintiffs mutilated currency claims. 5 And so, the Court grants
the goverrunent's motion for summary judgment with respect to this final claim.

        C.     The Court Grants Plaintiff's Motion To Proceed In Forma Pauperis

        As a final matter, plaintiff has also filed a motion to proceed in this matter informa
pauperis and he seeks a waiver of the Court's filing fee. See generally Pl. IFP Mot. In his
application to proceed in forma pauperis, plaintiff states that he is unable to pay the Court's
filing fee due to his unemployment. Id. at 1-2. This Court may authorize commencement of a
suit without prepayment of fees when a person submits an affidavit including a statement of all
assets, a declaration that he or she is unable to pay the fees, and a statement of the nature of the
action and a belief that he or she is entitled to redress. See 28 U.S.C. § 191 S(a); see also


5 Plaintiff argues without support that he submitted lawfully held legal tender to the BEP. Am. Comp!. at
2; Pl. Resp. at 7 (arguing that a prior decision of this Court shows plaintiff submitted legal tender to the
BEP). But, plaintiff does not dispute any of the aforementioned facts regarding the nature of his
mutilated currency claims and the subsequent investigation conducted by the OIG. See generally Pl.
Resp.

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28 U.S.C. § 2503(d). Due to the Court's summary disposition ofthis case, and plaintiffs prose
status, the Court finds that plaintiff satisfies the statutory requirements to proceed in forma
pauperis. And so, the Court GRANTS plaintiffs motion to proceed informa pauperis.

V.   CONCLUSION

       In sum, when read in the light most favorable to plaintiff, the complaint and amended
complaint make clear that the Court does not possess subject-matter jurisdiction to consider
plaintiffs constitutional, contract, tort, criminal law, and civil rights claims. The undisputed
material facts in this matter also show that plaintiffs mutilated currency claim lacks merit,
because plaintiff did not submit lawfully held mutilated currency to the BEP. Lastly, plaintiff
has shown that he satisfies the statutory requirement to proceed in this matter in forma pauperis.

       And so, for the foregoing reasons, the Court:

        I. GRANTS the government's motion to dismiss, or, in the alternative, for summary
           judgment;

       2. GRANTS plaintiffs motion to proceed informa pauperis; and

       3. DISMISSES the complaint.

       The Clerk's Office is directed to ENTER judgment accordingly.
       No costs.



       IT IS SO ORDERED.




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